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                                   IN THE UNITED STATES DISTRICT COURT
                                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                           Plaintiffs,                                                 8:09CR97

        vs.
                                                                                        ORDER
JACOB PUTNAM,

                           Defendant.


Defendant Jacob Putnam appeared before the court on February 21, 2014 on a Petition for Offender Under
Supervision [152]. The defendant was represented by Assistant Federal Public Defender Jeffrey L. Thomas, and
the United States was represented by Assistant U.S. Attorney Meredith B. Tyrakoski on behalf of Kimberly C.
Bunjer. Through his counsel, the defendant waived his right to a probable cause hearing on the Petition for Offender
Under Supervision [152] pursuant to Fed. R. Crim. P. 32.1(a)(1). The government moved for detention. A
detention hearing was held. Since it is the defendant’s burden under 18 U.S.C. § 3143 to establish by clear and
convincing evidence that he is neither a flight risk nor a danger, the court finds the defendant has failed to carry his
burden and that he should be detained pending a dispositional hearing before Chief Judge Smith Camp.
                  IT IS ORDERED:
         1.       A final dispositional hearing will be held before Chief Judge Smith Camp in Courtroom No. 2,
Third Floor, Roman L. Hruska Federal Courthouse, 111 South 18th Plaza, Omaha, Nebraska, on April 17, 2014 at
10:30 a.m. Defendant must be present in person.
         2        The defendant, Jacob Putnam, is committed to the custody of the Attorney General or his
designated representative for confinement in a correctional facility;
         3.       The defendant shall be afforded a reasonable opportunity for private consultation with defense
counsel; and
         4.       Upon order of a United States court or upon request of an attorney for the government, the person
in charge of the corrections facility shall deliver defendant to the United States Marshal for the purpose of an
appearance in connection with a court proceeding.




         Dated this 21st day of February, 2014.

                                                                BY THE COURT:

                                                                s/ F.A. Gossett, III
                                                                United States Magistrate Judge
